






NO. 07-07-0129-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



NOVEMBER 5, 2007


______________________________




KHAMPHETH BOUNKHOUN, 



									Appellant


v.
					


THE STATE OF TEXAS, 



									Appellee


_________________________________



FROM THE 297TH DISTRICT COURT OF TARRANT COUNTY;



NO. 0978509D; HON. EVERETT YOUNG, PRESIDING


_______________________________



Memorandum Opinion


_________________________________



Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

	Khampheth Bounkhoun appeals his conviction for murder by contending in four
issues that the evidence is legally and factually insufficient to sustain it, the trial court erred
in admitting two photographs of the victim, and the trial court should have granted him a
mistrial when the prosecutor commented on his right not to testify.  We affirm the judgment
of the trial court.

	Issues 1 and 2 - Legal and Factual Sufficiency

	Standard of Review	

	The standards by which we review the legal and factual sufficiency of the evidence 
are found in Jackson v. Virginia, 443 U.S. 307, 99 S. Ct. 2781, 61 L. Ed. 2d 560 (1979) and
Watson v. State, 204 S.W.3d 404 (Tex. Crim. App. 2006).  We refer the parties to those
cases. 

	Application of Standard

	Appellant argues that there was "mass confusion" in the parking lot where the
murder occurred and that no evidence clearly established him as the one who shot Vy
"Julie" Nguyen.  Yet, one witness testified that immediately after hearing a gunshot, she
saw appellant pointing a black object that she believed to be a gun. Another witness
testified that appellant informed her that he had shot Julie.  A third witness stated that he
had given appellant a handgun like that used to commit the murder.  Finally, after the
shooting, evidence illustrated that appellant fled the state to the Carolinas.  This is some
evidence upon which a rational jury could conclude, beyond reasonable doubt, that
appellant fired the bullet that killed Julie.  

	That various of the witnesses may have had grudges or may have initially lied to the
police raised issues of credibility.  Nevertheless, it was for the jury to resolve those issues
and determine the weight to be accorded the prosecutor's witnesses.  Margraves v. State,
34 S.W.3d 912, 919 (Tex. Crim. App. 2000).  So, these circumstances, when compared
to the entire record, do not undermine our confidence in the verdict.  In sum, we find the
evidence both legally and factually sufficient to support the verdict.   

	Issue 3 - Admission of Photographs

	In his third issue, appellant complains about the trial court's decision to admit two
photographs over his Rule 403 objection.  Both photographs showed the gunshot wound
to the head of the victim.  We overrule the issue.  

	Standard of Review	

	Whether the trial court erred in overruling a Rule 403 objection depends upon
whether it abused its discretion, i.e. whether the decision fell outside the zone of
reasonable disagreement.  Rayford v. State, 125 S.W.3d 521, 529 (Tex. Crim. App. 2003). 
Next, a photograph is generally admissible if verbal testimony about the matter depicted
in the photos is admissible.  Paredes v. State, 129 S.W.3d 530, 539 (Tex. Crim. App.
2004).  So too may photographs of a murder victim be admissible to show the manner and
means of death, even if they merely corroborate other kinds of evidence.  Moreno v. State,
1 S.W.3d 846, 857 (Tex. App.-Corpus Christi 1999, pet. ref'd).  Finally, that a relevant
picture may be gruesome alone is not necessarily justification to exclude it.  Sonnier v.
State, 913 S.W.2d 511, 519 (Tex. Crim. App. 1995).  

	Application of Standard	

	The two photos in question were only of the wound inflicted on the victim, not of her
body or her face.  Thus, they were rather clinical in nature and relevant to her manner of
death.  Furthermore, the medical examiner described in one of the photos the "keyhole"
pattern that occurs when a bullet strikes the skull.  He also referred to the size of the
wound in his testimony.  Thus, the pictures arguably explained aspects of the medical
examiner's testimony.   Given this, we cannot say the trial court's decision to admit them
fell outside the zone of reasonable disagreement.  

	Issue 4 - Motion for Mistrial

	In his last issue, appellant argues that the trial court abused its discretion in failing
to grant his motion for mistrial after the State commented on his right not to testify.  We
disagree and overrule the issue.

	  Standard of Review

	We review the trial court's ruling under the standard of abused discretion.  Archie
v. State, 221 S.W.3d 695, 699 (Tex. Crim. App. 2007).  Next, a mistrial is an extreme
remedy for prejudicial events.  Ex parte Lewis, 219 S.W.3d 335, 351 n.133 (Tex. Crim.
App. 2007).  Consequently, the denial of a motion for mistrial constitutes error only if the
instruction to disregard was inadequate to cure the prejudicial effect, if any, arising from
the misdeed.  Wilkerson v. State, 881 S.W.2d 321, 327 (Tex. Crim. App. 1994).

	Next, it is clear that a chance of prejudice arising from comments on post-arrest
silence may be cured by an instruction to disregard.  See Waldo v. State, 746 S.W.2d 750,
754 (Tex. Crim. App. 1988); Dossett v. State, 216 S.W.3d 7, 32 (Tex. App.-San Antonio
2006, pet. ref'd); Ho v. State, 171 S.W.3d 295, 306 (Tex. App.-Houston [14th Dist.] 2005,
pet. ref'd).  And, we presume the jury followed such an instruction.  Wesbrook v. State, 29
S.W.3d 103, 116 (Tex. Crim. App. 2000).  	

	Application of Standard	

	Here, the objectionable comment occurred when the State asked a police officer if
he had an opportunity to talk to appellant while transporting appellant back to Texas from
North Carolina.  The officer stated:  "No . . . [w]e attempted to interview him there at the jail,
but he requested an attorney be present, so we stopped the interview."  Appellant objected
to the statement.  After the objection was sustained, appellant sought an instruction to
disregard which instruction the trial court gave.  However, it refused to grant the request
for a mistrial.   

	In answering the question propounded, the officer's statement was somewhat non-responsive.  It went further than the scope of information directly sought by the query. 
Moreover, the trial court instructed the jury "to disregard the last comment," the comment
was not repeated, no reference was made to the comment during closing argument, and
the quantum of evidence depicting appellant's guilt was quite high.  Under these
circumstances, we conclude that reasonable minds could disagree on whether the
instruction cured any prejudice arising from the officer's statement.  In short, we do not
have before us offensive or flagrantly improper conduct of the type beyond cure.  See
Perez v. State, 187 S.W.3d 110, 112-13 (Tex. App.-Waco 2006, no pet.) (finding an
instruction to disregard effective when the mistake was not repeated, the statement was
not calculated to inflame the minds of the jury, and it was not referenced in closing
argument).  Thus, the decision to deny mistrial came within the zone of reasonable
disagreement.  

	Having overruled all of appellant's issues, we affirm the judgment. 


							Per Curiam

Do not publish.


